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 1 David V. Roth (State Bar No. 194648)
      david.roth@manningkass.com
 2 Lucina Rios (State Bar No. 325856)
      Lucina.Rios@manningkass.com
 3 MANNING & KASS
     ELLROD, RAMIREZ, TRESTER LLP
 4 One California Street, Suite 900
     San Francisco, California 94111
 5 Telephone: (415) 217-6990
     Facsimile: (415) 217-6999
 6
     Attorneys for Defendants
 7 JORDAN RUIZ d/b/a DEUS LUX INC.
     and McDONALD’S CORPORATION
 8 (erroneously sued as McDonald’s
     Corporation)
 9
10
                          UNITED STATES DISTRICT COURT
11
        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
12

13
     JIM WEST,                                 Case No. 2:24-cv-01193-JAM-DMC
14
                 Plaintiff,                    ORDER GEANTING
15                                             STIPULATION TO EXTEND TIME
           v.                                  FOR ALL DEFENDANTS TO
16                                             RESPOND TO INITIAL
     JORDAN RUIZ; MCDONALDS                    COMPLAINT
17 CORPORATION; and SUNSET VIEW
     CEMETERY ASSOCIATION,
18
                 Defendants.
19

20

21         Pursuant to stipulation, and for good cause shown, Defendants’ responsive
22 pleading shall be due on June 21, 2024.

23         IT IS SO ORDERED.
24

25   Dated: June 06, 2024             /s/ John A. Mendez
26                                    THE HONORABLE JOHN A. MENDEZ
                                      SENIOR UNITED STATES DISTRICT JUDGE
27

28


                                           ORDER
